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            EXHIBIT A-41
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            DISTRICT OF COLUMBIA COURT OF APPEALS
                                                                        Sep 12 2022 3:51pm
            BOARD ON PROFESSIONAL RESPONSIBILITY



In the Matter of

JEFFREY B. CLARK                              Disciplinary Docket No.

A Member of the Bar of the District           2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


             REPLY BRIEF IN SUPPORT OF MOTION
                               TO DISMISS

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              DISTRICT OF COLUMBIA COURT OF APPEALS

              BOARD ON PROFESSIONAL RESPONSIBILITY
In the Matter of

JEFFREY B. CLARK                                   Disciplinary Docket No.

A Member of the Bar of the District                2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


               REPLY BRIEF IN SUPPORT OF MOTION
                          TO DISMISS
      ODC’s response to the Motion to Dismiss is notable both for what it says and

for what it does not say. The points it attempts to make are without merit. More

remarkable, however, is the lack of any response at all—or any response of

substance—to the weighty and fundamental constitutional and subject matter

jurisdiction arguments raised in the Motion to Dismiss. Indeed, Disciplinary

Counsel’s response bizarrely either ignores or makes light of the jurisdictional

arguments in the Motion to Dismiss, suggesting instead we go straight to trial and

decide only afterwards whether there is any jurisdiction to hold a trial.

      In order, the full range of jurisdictional arguments are:

      (1)
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      (2) there is no subject matter jurisdiction on fundamental constitutional
grounds rooted in (a) the separation of powers (reading D.C.’s ethics authorities as
established by Article I of the Constitution), (b) the Supremacy Clause (reading 28
U.S.C. § 530B to treat D.C. as if it were a “State,” which it is not), (c) the President’s
core unreviewable Article II powers under the Take Care Clause, (d) the Opinions
Clause, and (e) his powers of appointment and plenary powers of removal;

      (3) 28 U.S.C. § 530B does not confer disciplinary jurisdiction over
Department of Justice (“DOJ”) lawyers upon the District of Columbia because it is
not a “State” under straightforward principles of statutory interpretation;

      (4) 28 C.F.R. §§ 77.2(h) and 77.3, which purport to extend disciplinary
jurisdiction to the District of Columbia pursuant to Section 530B, exceed the
statutory authority granted by that statute and are therefore invalid under Chevron
Step One and the major questions doctrine;

      (5) even if 28 U.S.C. § 530B were applicable, it only grants disciplinary
authority to “the same extent and in the same manner as other attorneys in that State”
and therefore cannot apply to the charged conduct in this case because such conduct
has never been subject to discipline; and

      (6) even if 28 C.F.R. §§ 77.2(h) and 77.3 were applicable, they similarly do
not apply under § 77.2(j)(2) if the local jurisdiction “would not ordinarily apply its
rules of ethical conduct to particular conduct or activity by the attorney,” and, as
noted, that condition cannot be met here.

      ODC contends it need not respond to the substance of these arguments until

after the evidentiary hearing, “except to touch lightly on three points.” Resp. at 4.



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 This is not a sufficient response to a dispositive motion. Board Rule 7.14(a) requires

 that responses to motions be filed within seven days, not whenever the responding

 party feels like it or where it seeks by this ploy to grant itself an extension to come

 up with a better argument.

         As a threshold matter, arguments not presented by that deadline are waived,

 for it is well established waiver occurs when respondents fail to timely make

 objections to Disciplinary Counsel arguments. 1 Of course, the rule for Respondents

 must apply equally to Disciplinary Counsel as a matter of basic due process. See,

 e.g., In re Artis, 883 A.3d 85, 97 (D.C. 2005) (“Unless Bar Counsel is held to the

 same requirement, respondents would be denied notice of Bar Counsel’s claim and

 an opportunity to meet it at a meaningful time.”) (also refusing to relieve Bar

 Counsel of waiver because “there is nothing in this record to indicate that relief from

 the waiver is warranted”); see also generally In re Clair, 148 A.3d 705, 705 n.1

 (D.C. 2016); In re Fling, 44 A.3d 957, 958 n.3 (D.C. 2012); In re Toppleberg, 906

 A.2d 881, 882 n.2 (D.C. 2006). Of course, subject matter jurisdiction cannot be

 established by waiver or consent, but Disciplinary Counsel can surely fail to submit

 a timely response to a challenge to the existence of jurisdiction, and thereby lose

 the ability to make additional points to try to establish jurisdiction.


1 See, e.g., In re Stephens, 247 A.3d 698, 701 (D.C. 2021) (“We have consistently held that an attorney who fails to
 present a point to the Board waives that point and cannot be heard to raise it for the first time here.”); Matter of
 Robertson, 612 A.2d 1236, 1242 (D.C. 1992) (similar holding re waiver).



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      I.     THE MOTION TO DISMISS SHOULD BE DECIDED BEFORE
             ANY EVIDENTIARY HEARING.

      ODC grounds its refusal to respond to the substance of the anti-jurisdiction

arguments on the basis that under Board Rule 7.16(a) the Motion to Dismiss should

be deferred and ruled on only after the evidentiary hearing. That rule, however, does

not support ODC’s aggressive claim. It governs different kinds of motions than

Respondent’s Motion to Dismiss. It covers “motions directed to the manner in which

the hearing is to be conducted,” and “motion[s] directed to the admissibility of

evidence.” It also refers to “all other motions, except motions to dismiss described

in subparagraph (b) of this Rule,” providing that the Hearing Committee include a

recommendation as to such motions in its report to the Board.” (Emphasis added).

The rule thus expressly provides a different treatment for motions to dismiss by

Disciplinary Counsel under Rule 7.16(b). This is undoubtedly because there is no

reason to hold an evidentiary hearing in a case Disciplinary Counsel intends to

dismiss. Though not specifically provided for in Rule 7.16(a) or (b), it is equally true

that there is no reason to have an evidentiary hearing in a case that should be

dismissed for legal reasons, such as lack of jurisdiction at the outset or failure to

state a claim that the rules were violated. Otherwise, the evidentiary and merits

hearing cart would be put before the threshold jurisdictional horse. As a result, Rule

7.16 does not compel the result urged by ODC or offer any reason to relieve ODC

of its waiver of additional jurisdictional arguments.


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      ODC’s argument is also inconsistent with Board Rule 7.14, which ODC never

mentions. This rule expressly provides for motions to be filed within 7 days of the

answer date unless otherwise ordered. Board Rule 7.15 provides generally that

motions shall be heard either at a prehearing conference or at the time of the hearing.

Thus, deferral until after the evidentiary hearing is not required for all motions other

than ODC motions to dismiss. The cause of judicial economy and substantive

fairness is served by deciding dispositive motions before trial because, if they are

granted, no trial or evidentiary hearing is necessary. ODC offers no reason why that

principle should not also apply here.

      Finally, when the Chair of the Hearing Committee granted Respondent an

extension to file an answer or other responsive pleadings to September 1, 2022

(issued August 8, 2022), the Chair also “ORDERED that, in addition to filing his

answer, Mr. Clark may file any other ‘responsive pleadings’ [plural in original, but

not emphasis] referenced in his motion on or before 5 p.m. on September 1, 2022.”

Mr. Clark’s Motion to Dismiss is such a responsive pleading. For reasons of judicial

economy and fundamental fairness, it should be ruled on before any hearing is

conducted. Cf. D.C. R. Civ. P. 12(b)(1) (motion to dismiss for lack of subject matter

jurisdiction may be presented at the outset); Harlow v. Fitzgerald, 457 U.S. 800

(1982) (qualified immunity defense should be decided before trial).




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II.   ODC H A S F A I L E D T O S H O W J U R I S D I C T I O N .


                                  E       E




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             2.     ODC H A S F A ILE D TO S H O W S U B JE CT M ATT ER
                    J UR IS DI C TIO N .

      Respondent’s Motion to Dismiss makes plain that there are weighty

constitutional and separation of powers arguments that                 , the Board, and

the Hearing Committee lack subject matter jurisdiction in this case. Subject matter

jurisdiction is a fundamental threshold issue in any adjudicative process. Cf. D.C. R.

Civ. P. 12(b)(1) (lack of subject matter jurisdiction). “Parties cannot waive subject

matter jurisdiction by their conduct or confer it ... by consent, and the absence of

such jurisdiction can be raised at any time.” Chase v. Pub. Def. Serv., 956 A.2d 67,

75 (D.C. 2008) (cleaned up). “Furthermore, as this court said long ago, ‘[i]t is our

duty to notice a lack of jurisdiction even though the parties may desire a decision on

the merits.’” King v. Kidd, 640 A.2d 656, 662 (D.C. 1993) (cleaned up).

      Thus, even if ODC finds it expedient to try to ignore or brush away these

arguments,               the Board, and the Hearing Committee are not at liberty to

do so. We suggest that all of the threshold jurisdictional issues are so significant that

the Hearing Committee should schedule a separate oral argument to explore them.

Respondent’s counsel would appreciate the opportunity to make these points live

and respond to questions. This could save a lot of time for all involved.

             3.     ODC I GN OR ES T HE C O NST IT UTI O N AL I S S U ES .

       Given the importance and strength of the constitutional, statutory, and

administrative law objections to subject matter jurisdiction, it is remarkable that


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ODC deigns only to “touch lightly” on them. So lightly as to entirely ignore how the

Charges intrude on the President’s core Article II authorities, his responsibilities

under the Take Care Clause, his powers of removal and appointment, his

entitlements under the Opinions Clause, Respondent’s correlative obligations under

the Opinions Clause, and the unthinkable breach of the separation of powers and the

Supremacy Clause inherent in a bar disciplinary process purporting to intrude upon

and regulate the manner in which the President and his closest legal advisors—his

“hands” for purposes of these Article II powers 2—discharge these authorities.

        The most that ODC says about the constitutional arguments is to “lightly:

assert that they have no merit, and that the evidence will show that Respondent was

engaged in an attempt to interfere improperly in state election proceedings. Resp. at

4. But this assumes two points that are directly challenged by the Motion to Dismiss:

whether there is any impropriety in the draft letter as a matter of law and whether

Respondent’s conduct “bears directly on the judicial process with respect to an

identifiable case or tribunal.” In re Yelverton, 105 A.3d 413, 426 (D.C. 2014)

(emphasis added). More than parenthetical arm-waving is required to overcome

Respondent’s arguments on these two points.

        Indeed, ODC appears to inadvertently reinforce the Respondent’s separation

of powers arguments by contending at pages 4-5 that the DCCA is a creature of


2 See Ponzi v. Fessenden, 258 U.S. 254, 262 (1922).



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Congress’ Article I powers. We agree. This confirms, rather than rebuts, the

separation of powers violation in this case. A derivative but merely local Article I

body, ODC, is attempting here to intrude into Article II deliberations by the

President with his officers. This is backwards. As a creature of an Article I court

created by Congress pursuant to its powers under the Seat of Government Clause,

U.S. Const. art. I §17, ODC “resides” within the legislative branch, and is subject to

the same separation of powers constraints as Congress when, as here, the claim is to

sit in judgment over the manner in which officers of the Executive Branch discharge

their duties to the President.

             4.     ODC H A S N O A N S W E R F O R R ES P O ND EN T ’ S S TAT U TO RY
                    AN D A D MIN IS T R ATI VE L A W A R GU M EN TS .

      ODC offers no rebuttal whatsoever to the statutory argument that 28 U.S.C. §

530B, by its textual terms, applies only to States, and thus not to the District of

Columbia. Instead, ODC says only that the argument is “complex,” and that

Respondent offers no policy reason for his position. For starters, policy reasons

cannot overcome statutory text. See Patel v. Garland, 142 S. Ct. 1614, 1627 (2022)

(“Yet we inevitably swerve out of our lane when we put policy considerations in the

driver’s seat. As we have emphasized many times before, policy concerns cannot

trump the best interpretation of the statutory text.”). As we have previously pointed

out, Congress knows how to (when it wants to) clearly delegate powers to the District

and it has simply not done so here, so ODC’s implicit argument that some kind of


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regulatory ethics vacuum would be created if Section 530B is read textually must be

rejected.

      Moreover, Respondent offered compelling policy reasons, that, under the

Supremacy Clause and separation of powers, the President and his most senior

Senate-confirmed DOJ legal advisors cannot be hamstrung in the execution of the

President’s core Article II authorities by the parochial aims and politicized

grievances of a non-state municipal bar disciplinary prosecutor acting at the urging

of a single member of Congress. Otherwise, there is practically no limit to the

mischief that might ensue. For example, a Democrat President and his/her senior

legal advisors could equally be subject to harassment by partisan warriors in

disciplinary garb in jurisdictions controlled by a hostile or aggressive opposition

party—which in our ever-more polarized political climate is certainly foreseeable.

The shoe may one day be on the other foot, and by then it will be too late to invoke

the rules of restraint that ODC would now trample. This is a slippery slope that

should be avoided.

      ODC then offers as a back-up argument the unsupported speculation that DOJ

might conceivably have required its lawyers to be subject to professional discipline

by the DCCA and its agencies as a term of employment. Resp. at 6-7. But there is

nothing to support ODC’s stab in the dark. If it were true, it would be ODC’s burden

to plead and prove such a contention, and it has not even bothered to plead facts on



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the topic.

       While it may not be necessary to go any further, ODC’s improvised

speculation about a contract must fail on first principles. A Senate-confirmed

appointment under Article II is not a “contract of employment;” it is a presidential

appointment that leads to a “commission.” See 5 U.S.C. § 2902(c) (the statute under

which Mr. Clark held his commission at the Justice Department, signed by the

President and countersigned by the Attorney General, until his resignation on

January 14, 2021). No implicit additional qualifications can be imposed by the

DCCA or by an imaginary implied contract modifying the President’s powers of

appointment and removal or the Senate’s power to confirm. The charged conduct

here did not occur in any case being litigated before a court or, indeed, before a court

at all. It is limited to Respondent’s conduct as an advisor to the President with respect

to his core Article II authorities. ODC’s contractual argument must therefore be

deemed insufficient to state a claim that Rule of Professional Conduct 8.4 was

violated. See Chamberlain v. Am. Honda Fin. Corp., 931 A.2d 1018, 1023 (D.C.

2007) (on 12(b)(6) motion in a civil case, “[f]actual allegations must be enough to

raise a right to relief above the speculative level....”)

       Perhaps ODC means to argue that some interpretation of DOJ’s regulations

means that all D.C.-barred attorneys who work for DOJ (or in Respondent’s case,

accept a presidential commission at the Justice Department), subject themselves to



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the rules of the D.C. Bar in all instances, including those alleged in the Charges,

though ODC does not point to any such DOJ regulatory interpretations. This alone

is fatal to any ODC argument from the DOJ regulations.

      At the most fundamental level, of course, any such disciplinary authority

purportedly rooted in a DOJ regulation would run contrary to the plain text of 28

U.S.C. § 530B, and is thus unsupportable. Indeed, going deeper, even under Kisor v.

Wilkie, 139 S. Ct. 2400 (2019), where the Supreme Court modified the doctrine of

Auer deference articulated in Auer v. Robbins, 519 U.S. 452 (1997), ODC can find

no refuge. Under Kisor, a court must defer to an agency’s interpretation of its own

regulation only after a court has determined that (1) the regulation is genuinely

ambiguous; (2) the agency’s interpretation is reasonable; and (3) the agency’s

interpretation meets certain minimum thresholds to warrant Auer deference. Kisor

Step One incorporates Chevron Step One’s approach of construing statutory text

using the “traditional tools” of construction (such as canons and legislative history).

See Kisor, 139 S. Ct. at 2415.

      Here, as a matter of garden-variety textual interpretation, the regulations

plainly apply only to authorize the application of “rules of ethical conduct governing

attorneys in the same manner as such rules apply to non-Department attorneys.” 28

C.F.R. § 77.2(k). Similarly, the regulations also exclude the application of ethics

rules from “any jurisdiction [that] would not ordinarily apply its rules of ethical



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conduct to particular conduct or activity by the attorney.” 28 C.F.R. § 77.2(j)(2)

(emphasis added). Neither of these regulatory hurdles can be leapt over here and

neither are “genuinely ambiguous” within the meaning of Kisor. Nor has ODC

argued that they are ambiguous, waiving any argument to the contrary it might try

to make later. The Kisor analysis therefore terminates at this point—against

deference. Kisor Steps Two and Three need not be reached because there is no

remaining ambiguity after Kisor Step One. In any event, in order to satisfy Kisor’s

Steps Two and Three, ODC would have to point to some extant DOJ interpretation

of the Department’s regulations under Section 530B and ODC has not even

attempted to do so, so those two Kisor steps are also flunked and waived by ODC.

         Accordingly, Sections 77.2(h) and 77.3 grant no disciplinary authority to the

District of Columbia here, full stop, whether one consults the governing statute or

the governing regulations. Specifically, there is no precedent for applying Rule

8.4(c) or (d) to the “particular conduct or activity” of the Respondent. And ODC has

repeatedly and dispositively failed and refused to identify any “ordinary” body of

precedent that would authorize the charges in this case under this statute and

regulations. 3


3 The inapplicability of DOJ regulations to this situation, given Section 77.2(j)(2), is the simplest jurisdictional
argument on which to grant the Motion to Dismiss: in other words, the Hearing Committee could hold that charging
disciplinary misconduct in this situation is without precedent and thus cannot surmount Section 77.2(j)(2)’s denial of
disciplinary power to “any jurisdiction that would not ordinarily apply its rules of ethical conduct to particular conduct
or activity by the attorney.” (Emphasis added).




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         ODC is just throwing spaghetti at the wall and hoping some of it sticks—or

can buy it sufficient time to get to the evidentiary hearing it desperately seeks. But

the deep level of penetration into the Executive Branch’s internal operations ODC’s

approach entails would cause untold damage to the federal constitutional structure.

The Board and Hearing Committee should not countenance any such intrusions.

                  5.       O T HE R C ASE S OF B AR D IS CIP LI NE A GA IN ST F ED ER A L
                           A TT O R NE YS D O N OT S UP P OR T S UB J ECT M AT TER
                           J UR IS DI C TIO N IN T HIS C AS E .

         On page 6 of the Response, ODC offers his lone attempted rebuttal to the

absence of subject matter jurisdiction in this particular case—a string cite to a series

of disciplinary cases against attorneys employed by the federal government, all

collected in the margin below. 4

         None of these cases even discuss subject matter jurisdiction, much less

establish that it is present in this case. Indeed, none of them analyze any of the


This would allow the Board and the Hearing Committee to leave for another day whether it has any power over DOJ
attorneys barred in D.C. under Section 530B and Sections 77.2(h) and 77.3. The narrower, Section 77.2(j)(2) ground
for dismissal would thus, in the jurisprudential philosophy of Chief Justice Roberts, constitute an exercise of “judicial
minimalism.” E. Wydra and M. Farivar, John Roberts Seen as Most Influential Chief Justice in Nearly a Century,
Constitutional Accountability Center, (Jul. 15, 2020) available at https://tinyurl.com/bdchhchb (last visited Sept. 9,
2022) (note that the Constitutional Accountability Center is a progressive organization by its own admission). This
approach would also be consistent with the canon of constitutional avoidance. See, e.g., Ashwander v. TVA, 297 U.S.
288, 345-348 (1936) (Brandeis, J. concurring); Bond v. United States, 572 U.S. 844, 855, 134 S. Ct. 2077, 2087 (2014).
To be clear, we believe our arguments against the applicability of Sections 530B and Sections 77.2(h) and 77.3 are
also entirely correct; we merely submit here that those arguments can be avoided as a prudential matter if Section
77.2(j)(2) is held to apply on the ground that ODC cannot meet the test that it “ordinarily” applies D.C. ethics rules to
the type of purported misconduct (which is not misconduct at all) at issue in this case.
4 See Response at 5, citing In re Dobbie and Taylor, DCCA No. 21-BG-024 (D.C. Jan. 13, 2021); In re Kline, 113
A.3d 202 (D.C. 2015); In re Howes, 52 A.3d 1 (D.C. 2012); In re Berger, 927 A.2d 1032 (D.C. 2007); In re Sofaer,
728 A.2d 625 (D.C. 1999); In re Abrams, 689 A.2d 6 (D.C. 1997) (en banc), cert. denied, 521 U.S. 1121 (1997); see
also Neal v. Clinton, No. CIV 2000-5677, 2001 WL 34355768 (Ark. Cir. Ct. Jan. 19, 2001); Matter of Nixon, 53
A.D.2d 178, 385 N.Y.S.2d 305 (1976).


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arguments made here by Respondent. Thus, for example, none of them even cite

Chevron, let alone 28 C.F.R. § 77.2(h), § 77.2(j)(2), § 77.2(k), or § 77.3.

      In re Abrams was decided pre-28 U.S.C. § 530B and pre-28 C.F.R. § 77.2(h),

etc. and thus sheds no light on their interpretation. In re Abrams also involved a

pardoned conviction of perjury before Congress. Next, In re Howes, In re Kline, and

In re Dobbie-Taylor involved AUSAs practicing before D.C. or Puerto Rico courts,

which we concede subjects them to local discipline. Nothing in the Charges was

before a D.C. court or within the scope of the supervisory jurisdiction of any D.C.

Court. In re Howes involved an AUSA who admitted to six ethics rule violations

before the Bar. In re Berger involved a former National Security Advisor who

pleaded guilty to theft and destruction of federal records and voluntarily

surrendered his license. In Matter of Nixon, there was overwhelming documentary

and testimonial evidence gathered through lengthy congressional and criminal

investigations of whether President Nixon had obstructed justice in the various

Watergate investigations. More importantly, President Nixon did not respond to the

charges, and they were taken as proven. Finally, in Neal v. Clinton, President

Clinton was found by a U.S. District Judge to have committed perjury, in the

presence of that same Judge, in a deposition in a civil case against him in his

personal capacity, and he voluntarily accepted a five-year suspension. Additionally,

the cases involving Presidents Nixon and Clinton were brought by their respective



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state bars, not by the D.C. Bar, which is not an arm of a State within the meaning of

Section 530B. 5

         In short, while the cases did involve lawyers working for the federal

government, none of them have any precedential value for the jurisdictional issues

we press in this case because they simply did not discuss any of them. The U.S.

Supreme Court has referred to these kinds of cases as “drive-by jurisdictional

rulings” that have no precedential jurisdictional effect whatsoever:

         The short of the matter is that the jurisdictional character of the elements
         of the cause of action in Gwaltney . . . had been assumed by the parties,
         and was assumed without discussion by the Court. We have often said
         that drive-by jurisdictional rulings of this sort (if Gwaltney can even be
         called a ruling on the point rather than a dictum) have no precedential
         effect. See Lewis v. Casey, 518 U.S. 343, 352, n.2 (1996) [“we have
         repeatedly held that the existence of unaddressed jurisdictional defects
         has no precedential effect.”]; Federal Election Comm’n v. NRA Political
         Victory Fund, 513 U.S. 88, 97 (1994); United States v. L. A. Tucker Truck
         Lines, Inc., 344 U.S 33, 38 (1952).

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 91 (1998) (emphasis added).

         ODC’s string cite does nothing to cure the jurisdictional defects in this case.

         III.     ODC H A S R E -F R A M E D T H E C H A R G E S T O O V E R C O M E I T S
                  FAILURE TO STATE A VIOLATION OF THE RULES.

         ODC has also reframed its case in an effort to sidestep Respondent’s

arguments that no violation of the rules is alleged to such an extent that it should be


5 Notably, and bearing on the pending request to defer under Board Rule 4.2, in all of the senior public official cases
cited by ODC (Abrams, Berger, Nixon and Clinton), the disciplinary authorities did not act until the pending related
civil and criminal matters had first been concluded. Here, ODC seeks to reverse that order and go first—an approach
that has nothing to commend it and, we submit, seems driven only by political objectives given the impending midterm
congressional elections. See Conclusion, infra.


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held to have argued itself out of court. ODC contends at page 2 that “[h]ad

Respondent merely suggested sending the so-called ‘Proof of Concept’ letter to

various Georgia officials, this case would not have been brought.” Disciplinary

Counsel has thus conceded an essential point—that a mere proposal that was

never operative because it was not adopted, and was never sent does not violate

Rule 8.4(a), (b) or (d). This concession recognizes that no violation can arise

because the draft letter on its face could never become operative absent approval by

superiors, which was never given. Conversely, even assuming arguendo DOJ is a

monolith that never sees internal dissent, as ODC wrongly assumes, if the letter had

been approved by then-Acting AG Rosen (or by the President) and the statements

thereby made operative, then the allegedly false statements about DOJ’s positions

would be correct statements of DOJ’s position and, in that case, the statements would

again not violate Rule 8.4.

      Having made this concession, Disciplinary Counsel now shifts to arguing that

Rule 8.4 was violated, not because of Respondent’s claimed suggestion, but because

Respondent persisted in the suggestion until it was rejected by the President, even

after being told by his immediate superiors that in their view there was no evidence

to support the claims proposed in the draft letter. This newly fashioned charge is

significantly different from the original Charges, which allege that the preparation

and internal transmission of the draft letter in and of itself violated Rule 8.4 because



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it falsely characterized the position of the Department of Justice at the time. See

Charges, ¶¶ 15-19 (specifying the alleged falsity by comparing the proposed

positions to the publicly stated positions of other DOJ officials at the time). Building

thereon, paragraph 31 alleges “Respondent attempted to engage in conduct involving

dishonesty, by sending the Proof of Concept letter containing false statements.”

      The radically new framing in response to the Motion to Dismiss thus seeks to

cure the non sequitur at the very heart of the original Charges by positing a

distinction between permissibly suggesting DOJ adopt different positions versus

impermissibly persisting in doing so. The original framing of the Charges was itself

entirely unprecedented, and therefore clearly fell outside of both Section 530B (the

statute) and Sections 77.2(h) & 77.3. But this entirely new, backfilling distinction

upon which ODC now hangs its case shifts to an even more wildly novel theory—

one pumped up on steroids—that the D.C. Bar has never pursued before, reinforcing

how far outside the ambit of the claimed statutory and derivative delegated authority

under Justice Department regulations this case really is.

      ODC’s concession is fatal to the viability of the posited distinction because it

attempts to draw a line between a permissible suggestion and forbidden persistence.

The proposed distinction is arbitrary, illusory and impossible to either define with

precision or to administer in practice. Worse, it is contrary to any commonsense

understanding of the role of any attorney engaged in a dispute over the advice and



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recommendations to be offered to a client. See Rule of Professional Conduct 2.1. No

matter how much Respondent may have persisted, the draft letter never lost its

contingent, non-operative, tentative, and non-false advisory nature at any point,

because the President never approved it, as the Charges themselves recognize.

      Moreover, this newly contrived distinction is impossible to apply to

confidential and contested policy deliberations at the highest levels of the Justice

Department and with the President himself over the discharge of the President’s core

Article II powers and authorities. Where on the continuum of disagreements over

proposed policy changes could a workable line be drawn for the imposition of quasi-

criminal penalties that could possibly be consistent with due process and fair notice

of what is forbidden? We know for certain that no D.C. Bar rule explicitly prohibits

“impermissible persistence” in such a setting, and that Rule 2.1 and 1.13 explicitly

contemplate that attorneys will be persistent whenever in their judgment the best

interests of the client require it. Nor does any DOJ regulation or DOJ regulatory

interpretation prohibit “impermissible persistence” in this setting.

      Hence, we are in uncharted waters: Does impermissible persistence occur

when the disagreement among political subordinates is taken to the President? When

the parties to the discussion interrupt one another or speak out of turn? When voices

are raised? When there are professional insults being traded? When foul language is

used? When one is outnumbered and threatened, but holds his ground until the



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President decides? Does ODC propose to enforce the decorum of a courtroom in the

Oval Office if any of the participants happen to be barred in D.C.? What if rules on

such niceties differ from those governing in D.C. as compared to the state bars of

other lawyer participants in Oval Office meetings? Does the President even require

the assistance of ODC, acting at the suggestion of a member of Congress, to keep

such order as may be satisfactory to him, especially where, as here, each of the

attorneys serves at his unreviewable pleasure and he has never filed his own

complaint to ODC?

         If none of the foregoing describes the distinction between permissible

suggestion and impermissible persistence, where exactly does ODC propose that this

brand new line be drawn? 6 And doesn’t the fact that such a line would need to be

drawn retroactively prove that attempting to apply any such line, even once created,

to Respondent in this case would violate due process and be hopelessly and

unlawfully retroactive? Neither the statute (Section 530B), nor DOJ’s regulations in

28 C.F.R., nor the various categories of D.C. Bar Rules authorize new ethics

standards to be created and retroactively applied by ODC. See Bowen v. Georgetown




6 ODC may try to disingenuously suggest at an oral argument on the Motion to Dismiss, should one be held, that this
paragraph and related arguments exceed the bounds of a Motion to Dismiss by resting on disputed facts. But that is
not the nature of these points. They are policy arguments in the form of rhetorical questions designed to spur careful
consideration of the legal implications of the constitutionally dangerous authority that ODC is now claiming. Such
arguments are a completely proper because one set of policy arguments (ODC’s) can be met with another (ours), even
as we fully recognize that constitutional arguments, along with arguments from statutory and regulatory text, firmly
outrank policy arguments standing alone. And we submit no constitutional or textual arguments run in ODC’s favor.



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Univ. Hosp., 488 U.S. 204, 208-09 (1988) (regulations and regulatory interpretations

cannot have retroactive effect unless expressly authorized by Congress and Section

530B(b)’s delegated rulemaking power to DOJ does not authorize retroactive

rulemaking). “In some cases, however, the agency will provide no pre-enforcement

warning, effectively deciding ‘to use a citation [or other punishment] as the initial

means for announcing a particular interpretation’—or for making its interpretation

clear. E.g. Martin v. OSHRC, 499 U.S. 144, 158 (1991) ….” General Elec. Co. v.

EPA, 53 F.3d 1324, 1329 (D.C. Cir. 1995) (as corrected June 19, 1995).

      ODC’s ever-evolving theory of the case also rests upon the notion that the

publicly and privately expressed opinions of senior DOJ political appointees that

allegedly belie the proposed positions in the draft letter are the absolute, binding,

and irrefutable cosmic truth of the matter, such that it was impossible for Mr. Clark

to persist in proposing further investigation without violating Rule 8.4. But the

ultimate authority to formulate the positions of the Department rests not with Messrs.

Rosen and Donoghue, but with the President. Since they did not hold the ultimate

authority, their ipse dixit opinions on contested questions of fact, law, and policy did

not carry the binding preclusive effect that ODC presumes.

       It is not “dishonesty” for an attorney to persist in a disagreement with his or

her colleagues. Here the lawyers south of the President, according to the Charges,

did not agree, and to resolve the disagreement they took the matter to their client,



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the ultimate decisionmaker. This is specifically contemplated by Rule of

Professional Conduct 1.13(b) for attorneys representing organizations, yet here ODC

claims Respondent dishonestly “persisted” in violation of Rule 8.4(a), (c), and (d). 7

Wrong. Mr. Clark, in fact, had a professional responsibility to exercise his own

independent professional judgment on questions and arguments put to him by Rosen

and Donoghue, and by the President of the United States. Once the President made

his decision, the matter was truly and entirely closed. The Charges plead no

insubordinate, contumacious, or “attempted dishonest” “persisting” after the

President made his final decision.

         Disciplinary Counsel also contends that Respondent’s impermissible

persistence included seeking appointment as Acting Attorney General in order to

send the letter with the allegedly false statements. This argument (even if true and

not lacking other critical factual context), as well as ODC’s whole case, cannot be

reconciled with the President’s constitutional authority under Article II, the

separation of powers, or the Supremacy Clause. The final decision on the letter, and

on any possible removal or appointment in connection therewith, belonged

exclusively and unreviewably to the President as part of his core Article II

authorities. The Charges thus inevitably intrude on the President’s unreviewable


7 See D.C. Rule of Professional Conduct 1.13 cmt. [4] (“Even in circumstances where a lawyer is not obligated by
Rule 1.13 to proceed, a lawyer may bring to the attention of an organizational client, including its highest authority,
matters that the lawyer reasonably believes to be of sufficient importance to warrant doing so in the best interest of
the organization.”).


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power to choose to remove one official and appoint a different Senate-confirmed

official in an “acting” capacity to run the Department. Policy is not made by “the

Department” as some disembodied abstraction; it is made by Senate-confirmed

officers who consult with the President and others engaged with the President during

the consultative process. The President has unreviewable and exclusive authority to

dismiss and replace any Senate-confirmed officer, and to similarly replace non-

Senate-confirmed officials like Mr. Donoghue and lawyers from the White House

Counsel’s Office, and Presidents have always wielded this power in the course of

making and implementing their own decisions. See Free Enterprise Fund v. Public

Co. Accounting Oversight Bd., 561 U.S. 477, 492 (2010) (“The view that ‘prevailed,

as most consonant to the text of the Constitution’ and ‘to the requisite responsibility

and harmony in the Executive Department,’ was that the executive power included

a power to oversee executive officers through removal; because that traditional

executive power was not ‘expressly taken away, it remained with the

President.’”(citations omitted)). Like the appointment power of which it is a part,

the power to remove or replace is complete in itself. There is simply no constitutional

basis for a quasi-judicial official appointed by an Article I court to intrude on either

the supervisory powers of the President, or the advisory responsibilities of his

Senate-confirmed subordinates.

      All of this attempted intrusion and constraint is unconstitutional because these



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core executive powers are—and by constitutional design must remain—

unreviewable by other branches of government, unreviewable under the separation

of powers by an Article I, quasi-municipal bar disciplinary authority, and under the

Supremacy Clause, unreviewable by even the disciplinary authority of any State in

the Union. The President’s discretion in the removal and appointment of senior DOJ

officials cannot be held hostage to the officious intermeddling of another branch, or,

in this case, by the bar disciplinary machinery of the District of Columbia. For the

Board and ODC are creatures of Article I, lacking a clear statutory delegation over

matters like this one, especially in light of the major questions doctrine unpacked in

the motion to dismiss—a key interpretive principle ODC tries to duck only by saying

it is “specious” (without offering any support or logic) or “newly minted.” Whether

newly-minted or tracing back two decades to FDA v. Brown & Williamson Tobacco

Corp., 529 U.S. 120, 159–60 (2000), as the Supreme Court itself held in West

Virginia v. EPA, 142 S. Ct. 2587, 2608 (2022), it is still binding Supreme Court law

and must be followed here.

      IV.    ODC F A I L E D T O I D E N T I F Y A P A R T I C U L A R T R I B U N A L O R
             PROCEEDING WITH WHICH RESPONDENT ATTEMPTED TO
             INTERFERE.

      One of the essential elements of a violation of Rule 8.4(d) is that the conduct

which is alleged to substantially interfere with the administration of justice must

“bear[] directly on the judicial process with respect to an identifiable case or



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tribunal.” In re Yelverton, 105 A.3d 413, 426 (D.C. 2014) (emphasis added). ODC

has failed to identify any such case or tribunal. That is because there was no such

case or tribunal. In its Response, ODC refers only vaguely to “state election

proceedings.” Resp. at 3. ODC does not even identify the State, much less the

particular election proceeding in any State. ODC has thus failed to state a violation

of Rule 8.4(d), and failed to correct this defect in response to the Motion to Dismiss.

                                 CONCLUSION

      In the Request for Deferral, Respondent noted the serendipitous timing of the

Charges relative to the prime-time television schedule of the January 6 Committee

and argued “[t]he exigencies of the political calendar should have no effect on these

proceedings. No politically motivated rush to judgment should be allowed to

prejudice Respondent’s constitutional rights.” Despite this, ODC proposes in its

Response to the Motion to Dismiss that the evidentiary hearing go forward in the

second half of October. Rep. p. 9. Is it merely a coincidence that this happens to fall

just before the November mid-term elections and that Democrats hope to make that

election revolve around President Trump? We don’t think so. And the Hearing

Committee should avoid scheduling that even appears improper.

      More importantly, ODC has failed utterly to respond to the substance of

multiple fatal constitutional defects and multiple fatal defects in subject matter

jurisdiction, forfeiting its ability to oppose our positions.



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                                          It mischaracterized the rules for deciding

dispositive motions. It has posited an improvised, jury-rigged, and untenable

distinction between permissible suggestions and impermissible persistence that is

even more illogical than the original Charges’ allegation that a mere proposal, which

on its face is not operative unless and until approved—and which was never

approved and so never left the office—could constitute an attempted false statement.

      For a host of reasons ODC does not trouble itself to rebut, this case should be

dismissed with prejudice.

      Respectfully submitted this 12th day of September, 2022.

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progress




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                   CERTIFICATE OF COMPLIANCE

      The undersigned certifies that this filing is prepared in Times New Roman 14,

and that the word count in the relevant sections of this filing, as measured by

Microsoft Word, including footnotes is 6,989.


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                      CERTIFICATE OF SERVICE


      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Reply Brief in Support of Motion to Dismiss by email addressed

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